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ORIGINAL

In the Anited States Court of Federal Claims

No. 14-925C
(Filed February 27, 2015)
NOT FOR PUBLICATION FILED
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*
U.S. COURT
* FEDERAL CLAIMS
JOHN DAVID McBRIDE, id
*
Plaintiff, *
A *
*
THE UNITED STATES, *
*
Defendant. :
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MEMORANDUM OPINION AND ORDER

Pending before the Court is defendant’s motion to dismiss the complaint for
lack of subject-matter jurisdiction under Rule 12(b)(1) of the Rules of the United
States Court of Federal Claims (RCFC), and plaintiffs motion for summary
judgment or default judgment. For the reasons set forth below, the Court finds that
it lacks jurisdiction over plaintiffs claims. Defendant's motion to dismiss is
GRANTED and plaintiffs motion is DENIED.!

I, BACKGROUND

Plaintiff John David McBride was incarcerated at the Greensville Correction
Center in Jarratt, Virginia and has filed this case for “[r]everse [d]iscrimination and
[g]ross [nJegligence” against Judge M. Hannah Lauck of the United States District
Court for the Eastern District of Virginia, and U.S. Attorney General Eric Holder.
Compl. at 1. The short procedural history of this case is as follows: Plaintiff filed
his complaint on September 22, 2014, and on October 15, 2014, filed a motion to
proceed in forma pauperis. ECF. No. 4. The government failed to submit a timely

 

1 Plaintiff also filed a document on December 8, 2014, which included a motion to
amend his complaint, seeking to add claims for damages for “Imjental and
[e]motional duress, loss of his [b]usiness and his home due to defendants
negl[i]gence.” See Mot. to Reconsider, ECF No. 14. Because this Court does not
have jurisdiction over his claims, the motion to amend is futile, and is therefore
DENIED.
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response to the in forma pauperis motion and the Court denied the government’s
motion to respond to plaintiffs in forma pauperis motion out of time. Order (Nov.
21, 2014), ECF No. 9. Nevertheless, the Court denied Mr. McBride’s motion to
proceed in forma pauperis because Mr. McBride has had at least three former cases
dismissed for failing to state claim, which prohibited the court from granting his
motion. Order (Nov. 25, 2014), ECF No. 10. Mister McBride then submitted a
motion for reconsideration, alleging a threat of imminent harm, and the Court
granted his motion to proceed in forma pauperis. Order (Dec. 9, 2014), ECF No. 15.
Plaintiff has informed us that he has since been released from the facility. Notice
(Jan. 20, 2015), ECF No. 20.

The government filed the pending motion to dismiss on November 20, 2014.
Def.’s Mot. to Dismiss (Def.’s Mot.), ECF No. 8. Plaintiff submitted two responses:
first, a document entitled “Motion for Summary Judg[]ment and/or Motion for
Default Judg[]ment” (Dec. 1, 2014), ECF No. 11;2 and second, a document entitled
“Motion to Dismiss and Motion for Sanctions Motion to Amend” (Pl.’s Resp.) (Dec. 5,
2014), ECF No. 13.3 The former document was filed as an independent motion for
judgment and the latter was filed as plaintiff's response to the government’s motion
to dismiss. The government responded to Mr. McBride’s motion on December 1,
2014. Def.’s Resp. to Pl.’s Mot. Sum. J. (Def.’s Resp.) (Dec. 1, 2014), ECF No. 12.
The government filed a reply in support of its motion on December 12, 2014.

The substance of plaintiffs claim is that federal court and executive branch
officials have wrongfully failed to respond to, and rule on, his pending civil action in
the United States District Court for the Eastern District of Virginia. Compl. at 2.
The Court notes that Mr. McBride has filed at least nineteen cases in the Eastern
District of Virginia since 2003. Mister McBride alleges that he filed a civil claim on
February 19, 2014, against the Commonwealth of Virginia, the Fairfax Circuit
Court, the Attorney General of Virginia’s office, and “the former and current
Gove[r]nors.” Jd. Plaintiff appears to be referring to McBride v. Virginia, 3:13-cv-
855, his Petition for Order of Restraint.4 That case, a habeas corpus petition, was

 

2 Asa pro se litigant, it seems Mr. McBride construed defendant’s failure to file an
answer as failure to defend its case. Rule 12(a)(4) however, alters a defendant's
timeline for filing an answer, and permits the defendant to wait until the outcome
of a motion to dismiss or motion for summary judgment before answering a
complaint. See RCFC 12(a)(4). Plaintiffs motion for judgment is accordingly
DENIED.

3 Plaintiffs request for sanctions is baseless and therefore DENIED.

4 Defendant assumes Mr. McBride is referring to McBride v. Johnson, No. 08-246,
2008 WL 4809857 (E.D. Va. Nov. 4, 2008) which was dismissed by (then) Magistrate
Judge Lauck. Def.’s Mot. at 2. But a closer review shows that McBride v. Virginia

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filed on December 31, 2013 and was conditionally docketed by (then) Magistrate
Judge Lauck on February 19, 2014. Memorandum Order of Magistrate Judge M.
Hannah Lauck, McBride 3:13-cv-00855-JRS, ECF No. 2. Mister McBride has
submitted numerous letters which have been filed in that case, and Judge Lauck
has permitted Mr. McBride to proceed in forma pauperis. The case is ongoing.

In the present complaint Mr. McBride charges that the Judge Lauck “shows
great pre[|judice against inmates.” Compl. at 2. He complains that despite
numerous filings the government has failed to investigate his claims, and that this
“blatant [nJegl[i]gence and [d]iscrimination against [w]hites is borderline criminal.”
Id. He blames “[rJeckless disregard for their legal [d]uty” as the reason for the
judicial system’s failure to respond to his filings and to release him from his
allegedly wrongful imprisonment. Id. at 2-3. Plaintiff also claims that he sent
evidence of his innocence to former Attorney General Eric Holder, who did not
respond. Id. at 2. Plaintiff seeks damages in the amount of $35 million. Id. at 3.

The government seeks to have this case dismissed pursuant to Rule 12(b)(1)
of the RCFC for lack of subject-matter jurisdiction. Def.’s Mot. at 1. The
government argues, first, that the court does not have jurisdiction to hear Mr.
McBride’s claims against Attorney General Eric Holder and Judge Lauck because
the Tucker Act only grants the court jurisdiction over claims against the United
States, and not federal officials. Id. at 6-7. Second, the government contends that
the court does not have jurisdiction over the type of claims Mr. McBride alleges,
namely tort claims and racial discrimination claims. Id. at 7-8. Third, the
government argues this court does not have jurisdiction to review prior decisions of
district courts. Id. at 9.

II. DISCUSSION

A. Legal Standards

Under RCFC 12(b)(1), claims brought before this court must be dismissed
when it is shown that this court lacks jurisdiction over their subject-matter. When
considering a motion to dismiss for lack of subject-matter jurisdiction, courts will
normally accept as true all factual allegations made by the pleader and draw all
reasonable inferences in the light most favorable to that party. See Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974); Pixton v. B&B Plastics, Inc., 291 F.3d 1324, 1326
(Fed. Cir. 2002) (requiring that on a motion to dismiss for lack of subject-matter
jurisdiction the court views “the alleged facts in the complaint as true, and if the
facts reveal any reasonable basis upon which the non-movant may prevail,
dismissal is inappropriate”); CBY Design Builders v. United States, 105 Fed. Cl.
308, 325 (2012).

 

was conditionally docketed on February 19, 2014, the date Mr. McBride cites in his
complaint.

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While a pro se plaintiffs filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot save claims which are
outside this court’s jurisdiction from being dismissed. See, e.g., Henke v. United
States, 60 F.3d 795, 799 (Fed. Cir. 1995). The party invoking a court’s jurisdiction
bears the burden of establishing it, and must ultimately do so by a preponderance of
the evidence. See McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 189
(1936); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir.
1998); Rocovich v. United States, 933 F.2d 991, 993 (Fed. Cir. 1991).

B. Analysis

Plaintiffs three-page complaint does not state in any detail the statutes or
constitutional provisions that defendant has allegedly violated. See Compl. at 1.
Mister McBride seeks compensation for “[r]everse [d]iscrimination and [g]ross
[nJegligence” but does not state the grounds on which he is entitled to relief. His
response enlightens the court slightly by saying:

Plaintiff is not argueing [sic] about Judge Lauck[’]s [ruling on his
[hljabeas corpus  [pletition. He is argueing [sic] that the
Commonwealth of Virginia Attorney Generalf[]s office withheld
[e]vidence and committed perjury in their response and at a later
date when Plaintiff obtained [e]vidence of this and sent this
[e]vidence to Judge Lauck she took no action to correct the situation,
nor was any action taken against the Commonwealth of Virginia[’]s
Attorney General|[’]s Office.

Pl.’s Resp. at 1-2. Interpreting the complaint broadly and generously toward
the plaintiff, it seems Mr. McBride is asserting the following legal claims: first, a
claim for violation of constitutional rights by government officials in their individual
capacities; second, a tort claim against the United States and/or its officials for
negligence; third, a civil rights claim against the United States and/or its officials
for racial discrimination.®

1. Claims Against Individual Defendants

The Tucker Act grants the United States Court of Federal Claims jurisdiction
only over claims against the United States, and not those directed at individual
federal officials. 28 U.S.C. § 1491(a); Brown v. United States, 105 F.3d 621, 624
(Fed. Cir. 1997). Plaintiffs complaint names two parties as defendants in this suit:
Judge Lauck and Attorney General Holder. The court lacks jurisdiction to the

 

5 To the extent that plaintiffs complaint can be construed as raising a claim for
false imprisonment, this court lacks jurisdiction because 28 U.S.C. § 1495 only
applies to federal convictions and imprisonments.

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extent that Mr. McBride’s claims are against individual officials. The Court
however construes Mr. McBride’s complaint to include the United States as a
defendant, and proceeds to review the motion on that basis.®

2. Negligence Claim

The Court of Federal Claims lacks jurisdiction over tort actions against the
United States. 28 U.S.C. § 1491(a) (limiting jurisdiction to “cases not sounding in
tort”); Shearin v. United States, 992 F.2d 1195, 1197 (Fed. Cir. 1993). This court
has previously held that tort claims include allegations that the United States
“engaged in negligent, fraudulent, or other wrongful conduct when discharging its
official duties.” Cottrell v. United States, 42 Fed. Cl. 144, 149 (1998). The bulk of
Mr. McBride’s claim is that federal officials have engaged in gross negligence by
failing to investigate and respond to his alleged false imprisonment. Compl. at 1-2.
This court lacks jurisdiction over plaintiffs tort claims.

3. Claims for Racial Discrimination

Our court does not have jurisdiction over Mr. McBride’s claims of racial
discrimination. Plaintiff has not cited to any money-mandating statute, nor is the
Court aware of any, that would permit us to have jurisdiction over these claims.
Even if Mr. McBride’s claims were grounded in the Constitution, he would only be
entitled to relief if the Constitution itself required the payment of money damages
as compensation, such as through the Takings Clause. Plaintiff has not pled that
the United States Constitution requires payment of money damages to him as
compensation for a violation. We lack jurisdiction to the extent plaintiff is alleging
a claim under the so-called equal protection component of the Due Process Clause of
the Fifth Amendment. See LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
1995); Carruth v. United States, 224 Ct. Cl. 422, 445 (1980).

4. Review of District Court Decision

This Court also lacks subject-matter jurisdiction over plaintiffs complaint
regarding any alleged infirmities associated with his conviction or the civil actions
he has filed in other courts. See Def.’s Mot. at 9-10. As the Federal Circuit
explained in Joshua v. United States, 17 F.3d 378 (Fed. Cir. 1994), our court “does
not have jurisdiction to review the decisions of district courts . . . relating to
proceedings before those courts.” Id. at 380. Moreover, “[t]his Court lacks
jurisdiction to consider claims which amount to collateral attacks on criminal
convictions.” Perkins v. United States, No. 138-023C, 2013 WL 3958350, at *3 (Fed.

 

6 Plaintiff seems to believe that the United States could not be named as a
defendant to the suit because the United States is not an individual. See Pl.’s Resp.
at 2. But under RCFC 10(a), on complaints filed in our court the United States is
“designated as the party defendant.”

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Cl. July 31, 2013). Finally, as this court’s (and the Federal Circuit’s) predecessor,
the Court of Claims, held in Carter v. United States, 228 Ct. Cl. 898 (1981), “[i]f
plaintiff had valid constitutional defenses to his convictions on criminal charges, he
should have asserted them on appeal in the proper court. . . . [H]e cannot here be
heard to make a collateral attack on his convictions under the guise of a claim for
money damages.” Id. at 900.

Insomuch as plaintiff's request for relief amounts to a request for this court to
overturn the decisions of the Eastern District of Virginia, his complaint amounts to
a request for collateral attack and thereby fails to establish proper jurisdiction.
Accordingly, this court lacks the jurisdiction to decide if Judge Lauck is biased; to
determine if due process has been violated in those cases; or to provide injunctive
relief to remedy the alleged “corruption in the Commonwealth Judicial System of
Virginia.” Compl. at 1-2.’

Ill. CONCLUSION

For the foregoing reasons the Court GRANTS defendant’s motion to dismiss
this case for lack of subject-matter jurisdiction pursuant to RCFC 12(b)(1) and
DENIES plaintiffs motion for judgment. The Clerk is directed to close the case.

IT IS SO ORDERED.

 

 

 

7 Under the Tucker Act, our court has jurisdiction over certain claims against the
federal government, not state or local governments or officials. See 28 U.S.C.
§ 1491.

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